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        In the United States Court of Federal Claims
    ARTHUR L. TROLLINGER,

                    Petitioner,
                                                           No. 16-vv-473
                        v.
                                                           Filed: July 31, 2023
    SECRETARY OF HEALTH AND HUMAN
    SERVICES,                                              Publication: August 15, 20231

                    Respondent.


L. Cooper Harrell, Turning Point Litigation, Greensboro, NC for Petitioner.

Mallori B. Openchowski, Trial Attorney, United States Department of Justice, Civil Division, Torts
Branch, Washington, D.C. for Respondent. With her on the briefs were Brian M. Boynton,
Principal Deputy Assistant Attorney General; C. Salvatore D’Alessio, Director, United States
Department of Justice, Civil Division, Torts Branch; Heather L. Pearlman, Deputy Director,
United States Department of Justice, Civil Division, Torts Branch; Traci R. Patton, Assistant
Director, United States Department of Justice, Civil Division, Torts Branch.

                                  MEMORANDUM AND ORDER

        Pending before this Court is Petitioner Arthur L. Trollinger’s Motion for Review of the

Chief Special Master’s Decision (Motion) dismissing Mr. Trollinger’s Petition for Vaccine

Compensation (Petition) under the National Vaccine Injury Compensation Program (Vaccine

Program). Motion for Review of the Chief Special Master’s Decision (ECF No. 85) (Mot.);

Petition for Vaccine Compensation (ECF No. 1) (Pet.); see Trollinger v. Sec'y of Health & Hum.

Servs., No. 16-473V, 2023 WL 2521912 (Fed. Cl. Spec. Mstr. Feb. 17, 2023) (ECF No. 81).

Petitioner alleges the Chief Special Master erred by (i) imposing a heightened burden of proof with

respect to Althen prong one, (ii) failing to follow the law in his evaluation of Petitioner’s expert,


1
 On July 31, 2023, the Court filed a sealed version of this Memorandum and Order. See ECF No.
88. As the parties do not propose any redactions, the Court is publicly reissuing its Memorandum
and Order. The sealed and public versions of this Memorandum and Order are identical, except
for the publication date and this footnote.
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and (iii) failing to fairly consider Petitioner’s molecular mimicry theory. Mot. at 7–82; see Althen

v. Sec’y of Health & Hum. Servs., 418 F.3d 1274 (Fed. Cir. 2005).

       Respondent urges this Court to affirm the Chief Special Master’s decision, arguing

Petitioner has not established reversible error and “has not shown the denial of entitlement was

arbitrary, capricious, an abuse of discretion, or not in accordance with law.” Response to Motion

for Review (ECF No. 87) (Resp.) at 7.

       For the reasons stated below, Petitioner’s Motion (ECF No. 85) is DENIED and the Chief

Special Master’s Decision is SUSTAINED.


                                        BACKGROUND

       On April 14, 2016, Arthur L. Trollinger filed a petition for compensation under the

National Childhood Vaccine Injury Act of 1986 (Vaccine Act), 42 U.S.C. §§ 300aa-10–34 (2012),

for an off-Table injury. Pet. at 1; Trollinger, 2023 WL 2521912, at *1. Specifically, Petitioner

alleged the Prevnar-13 pneumococcal vaccine (PCV-13) he received on July 17, 2015, caused him

to develop Guillain-Barré syndrome (GBS). Id.; Pet. ⁋⁋ 2, 14. To support his position, Petitioner

provided various medical records3 and expert reports.4 Respondent filed competing expert reports5




2
 Citations throughout this Memorandum and Order reference the ECF-assigned page numbers,
which do not always correspond to the pagination within the relevant document.
3
  Petitioner filed his medical records as Petition Exhibits 1–10 via CD. See docket text
accompanying Pet. He later filed additional medical records marked as Exhibits 11–12 (ECF No.
9) and Exhibit 13 (ECF No. 11). Petitioner filed a Statement of Completion on June 28, 2016,
confirming the submission of all medical records related to this litigation. ECF No. 13.
4
  Petitioner filed four expert reports throughout this litigation, all from Dr. Lawrence Steinman
(ECF Nos. 26-1, 35-1, 67-1, 79-1).
5
  Respondent filed reports by two experts: Dr. Timothy Vartanian (ECF Nos. 33-1, 38-1) and Dr.
J. Lindsay Whitton (ECF No. 77-1).
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in support of its opposition and contention that Petitioner’s GBS was caused by factors other than

the vaccine.

    I.      Factual Background

         On July 17, 2015, Petitioner Arthur L. Trollinger received a PCV-13 vaccine during his

annual wellness exam. Trollinger, 2023 WL 2521912, at *1; Mot. ⁋ 2; Pet. Ex. 1, at 6–7. Eight

days later, Petitioner complained of abdominal pains and, concerned he was having a heart

attack, contacted emergency medical services (EMS). Pet. ⁋ 3; Pet. Ex. 3. EMS arrived over

thirty minutes later and offered to take Petitioner to the nearest emergency room. Pet. ⁋ 3, at 2;

Pet. Ex. 3, at 2. After declining EMS’s offer, Petitioner went to the emergency room at the

Alamance Regional Medical Center in Burlington, North Carolina (Alamance ER). Trollinger,

2023 WL 2521912, at *1; Pet. ⁋ 4; Pet. Ex. 3, at 2. There, Petitioner underwent radiological and

lab testing, but the treating physician failed to pinpoint a clear cause of the chest pain, ultimately

diagnosing Petitioner with gastric reflux. Trollinger, 2023 WL 2521912, at *1; Pet. ⁋ 4; Pet. Ex.

4, at 441–44, 450–51, 453–84.

         Two days later, on July 27, 2015, Petitioner awoke and discovered he had lost feeling in

his hands. Pet. ⁋ 5. Later that same day, he felt a pins-and-needles sensation and weakness in his

legs. Id. His wife drove him to a local walk-in clinic, where the physician immediately sent him

to the Alamance ER after he developed numbness in his hands and feet, and ptosis (drooping of

the upper eyelid) of the right eye. Trollinger, 2023 WL 2521912, at *1; Pet. ⁋ 5; Pet. Ex. 4, at 40–

42, 72–73. The ER physician, Dr. Malinda, conducted a brain scan and consulted with Dr.

Matthew Smith, a neurologist, before admitting Petitioner to the hospital for possible GBS. 6



6
  While Dr. Vartanian raised concerns about portions of the testing Petitioner had undergone,
Respondent does not directly dispute Petitioner’s GBS diagnosis, arguing a lack of causation rather
than an alternative diagnosis. See generally Pet.; Resp.
                                                                                                     3
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Trollinger, 2023 WL 2521912, at *1; Pet. ⁋ 6; Pet. Ex. 4, at 42, 67–74, 157, 319. Petitioner

remained hospitalized until August 3, 2015, at which point he was transferred to a long-term care

facility until August 10, 2015 for rehabilitation, speech, physical, and occupational therapy.

Trollinger, 2023 WL 2521912, at *2; Pet. ⁋ 8; Pet. Ex. 5, at 10–24. During that time, Petitioner

experienced back pain, difficulty swallowing, fatigue, blurred vision, and weakness in his lower

extremities, necessitating some assistance with mobility. Trollinger, 2023 WL 2521912, at *2;

Pet. Ex. 5, at 10–15. From August 11 until August 27, 2015, Petitioner received at-home assistance

and was referred for ongoing physical therapy, which he received from October 6, 2015 through

the end of 2015. Trollinger, 2023 WL 2521912, at *2; Pet. ⁋ 9; Pet. Ex. 6, at 27–29, 35–49, 50–

54; Pet. Ex. 7, at 23–50, 60–97, 105–27.

        On August 19, 2015, Petitioner followed-up on his GBS diagnosis with his primary care

physician, complaining of difficulty swallowing, chest pains, tachycardia, shortness of breath,

back pain, and muscle spasms. Trollinger, 2023 WL 2521912, at *2; Pet. Ex. 1, at 4–5. On August

31, 2015, Petitioner met with cardiologist Dr. Dwayne Callwood, who recorded that Petitioner had

“developed [GBS] after a pneumonia shot.” Trollinger, 2023 WL 2521912, at *2; Pet. ⁋ 11; Pet.

Ex. 9, at 6–13. Dr. Callwood also recorded that Petitioner had suffered from angina symptoms for

the previous three to four months, shortness of breath, and tachycardia, and he noted these

symptoms were “related to [Petitioner’s] [GBS].” Trollinger, 2023 WL 2521912, at *2; Pet. ⁋ 11;

Pet. Ex. 9, at 6.

        Petitioner followed up with a neurologist, Dr. Hemang Shah, on September 21, 2015, who

documented that Petitioner had received the PCV-13 vaccine in July 2015; however, Dr. Shah did

not link the vaccination to Petitioner’s symptoms, which were by then improving. Trollinger,

2023 WL 2521912, at *2; Pet. Ex. 10, at 9–15; id. at 10 (listing PCV-13 as an allergic agent). Dr.



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Shah ultimately diagnosed Petitioner with GBS, prescribed Gabapentin, an anticonvulsant and

nerve pain medication, and advised Petitioner to avoid driving. Trollinger, 2023 WL 2521912, at

*2; Pet. Ex. 10, at 15.

         When Petitioner underwent further testing on October 2, 2015, he displayed bilateral

weakness and numbness in his hands, feet, and legs. Trollinger, 2023 WL 2521912, at *2; Pet.

⁋ 12; Pet. Ex. 10, at 2–3. Dr. Shah listed that Petitioner’s “[p]ast medical history [wa]s significant

for pneumonia vaccine prior to gradual onset of symptoms,” and provided the impression that

Petitioner suffered from “generalized polyneuropathy,” with sensory deficits predominant, but “no

evidence of conduction block.” Pet. Ex. 10, at 2–3 (suggesting that Petitioner’s normal median

motor response could represent “more proximal lesion”); Pet. ⁋ 12; Trollinger, 2023 WL 2521912,

at *2.

         By January 20, 2016, Petitioner’s physical condition had improved, but he still required

the assistance of a cane to walk. Id.; Pet. Ex. 13, at 5. In February 2016, Petitioner’s primary care

physician referred him to a neurologist. Trollinger, 2023 WL 2521912, at *2; Pet. Ex. 13, at 7.

Petitioner also had an additional follow-up appointment with his cardiologist, who stated

Petitioner’s GBS was “possibly related to the pneumonia vaccine.” Pet. Ex. 11, at 16; Trollinger,

2023 WL 2521912, at *2. On May 31, 2016, Petitioner again visited his primary care physician,

who noted Petitioner’s GBS symptoms were improving, and that Petitioner was “aware to never

get another vaccine.” Pet. Ex. 13, at 4–5; Trollinger, 2023 WL 2521912, at *2.

         At the time Petitioner brought suit against Respondent, Petitioner continued to suffer from

numbness and tingling in his hands, wrists, feet, and calves, and experienced tightening in his

torso. Pet. ⁋ 13.




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   II.      Expert Opinions

         In addition to the referenced medical records, the Chief Special Master reviewed seven

expert reports filed by three different experts: four reports filed by Petitioner’s expert and three

reports filed by Respondent’s two experts. See generally Pet. Ex. 14 (ECF No. 26-1) (Dr.

Steinman’s First Rep.); Respondent’s Ex. A (ECF No. 33-1) (Dr. Vartanian’s First Rep.); Pet. Ex.

31 (ECF No. 35-1) (Dr. Steinman’s Second Rep.); Respondent’s Ex. L (ECF No. 38-1) (Dr.

Vartanian’s Second Rep.); Pet. Ex. 40 (ECF No. 67-1) (Dr. Steinman’s Third Rep.); Respondent’s

Ex. M (ECF No. 77-1) (Dr. Whitton’s Rep.); Pet. Ex. 62 (ECF No. 79-1) (Dr. Steinman’s Fourth

Rep.).

            A. Petitioner’s Expert Reports

         Petitioner retained Dr. Lawrence Steinman, who serves as the George A. Zimmerman

Professor of Pediatrics, Neurology, and Neurological Sciences at Stanford University.           Dr.

Steinman’s First Rep. at 1; Trollinger, 2023 WL 2521912, at *3. Dr. Steinman filed four reports

in this case. The first report, filed on March 7, 2021, concluded Petitioner had developed GBS

through a cross-reactive immune response, molecular mimicry, to the phospholipid molecular

structures in the PCV-13 vaccine’s antigens. Dr. Steinman’s First Rep. at 6–9. Dr. Steinman

stated that certain phospholipids (phosphatidyl serine and phosphatidyl choline) are present in the

vaccine as well and are expressed in association with its polysaccharide antigens. Id. One example

is phospholipid phosphorylcholine, which is expressed in the 19A component of the vaccine and

is key in the pathophysiology of the pneumonia infection. Id. at 8–9. Therefore, in Dr. Steinman’s

estimation, it was logical that a vaccine intended to immunize against the pneumococcus strain

might also bring about “an immune response to lipids involved in neuroinflammation.” Id. at 9.

Dr. Steinman filed his second expert report on August 7, 2017, largely addressing criticisms that



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Respondent’s expert, Dr. Timothy Vartanian, had leveled at Dr. Steinman’s first report. See

generally Dr. Steinman’s Second Rep.

       Almost four years later, the Chief Special Master granted Petitioner’s request to update Dr.

Steinman’s expert opinion. Minute Order, dated July 15, 2021. Petitioner’s request followed a

conversation between Petitioner’s counsel and Dr. Steinman, during which the expert “indicated

that the current analysis of the molecular mimicry in Prevnar 13 is far more extensive than in his

original expert report filed in this case in 2017.” July 14, 2021 Status Report (ECF No. 66) at 1.

Dr. Steinman’s third report was subsequently filed on August 6, 2021. Dr. Steinman’s Third Rep.

This new report, however, contained no new evidence; instead, Dr. Steinman’s third report merely

reconsidered existing evidence concerning the makeup and contents of the PCV-13 vaccine. See

id. After making an inquiry to the Centers for Disease Control and Prevention (CDC) and

consulting the vaccine’s package insert and patent, Dr. Steinman concluded the molecule at issue

in the vaccine was phosphoglycerol, not phospholipids, as Dr. Steinman had previously claimed.

Id. at 2–15. The information Dr. Steinman had obtained from the CDC was a referral to the vaccine

packet and patent, both of which were readily available before Dr. Steinman had filed his first two

reports. Dr. Steinman’s Third Rep. at 2–6.

       With the identification of a new molecule, Dr. Steinman subsequently considered the

potential for molecular mimics. Id. at 7–15. He focused on phosphoglycerol as a component of

some of the vaccine’s polysaccharides in the 13 pneumococcal strains included in the vaccine. Id.

at 6–14. He theorized that an antibody created in reaction to the polysaccharide in the 23F strain

could bind to the phosphate group in the phosphoglycerol in the myelin sheath, leading to GBS.

Id. at 14. In the alternative, he proposed a reaction to a protein conjugate that aids the vaccine’s

immunogenicity or to the adjuvant used, which stimulates systemic immunity. Id. at 15–22.



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       Petitioner filed Dr. Steinman’s fourth report on May 7, 2022. Dr. Steinman’s Fourth Rep.

at 1. In it, Dr. Steinman introduced several new articles to support his molecular mimicry theory,

though they focused on molecular mimics for multiple sclerosis and Epstein-Barr virus rather than

GBS. Id. at 14–16. Dr. Steinman also defended his research methods in response to criticism from

Respondent’s expert, Dr. Whitton, and defended the overall value of his evidence. Id. at 16–27.

           B. Respondent’s Expert Reports

       Respondent retained two experts who submitted a total of three reports: Dr. Timothy

Vartanian, an attending neurologist at New York Presbyterian Hospital and a professor at Weill

Cornell Medicine; and Dr. J. Lindsay Whitton, a researcher and professor of immunology and

microbial science at Scripps Research Institute, where he focuses on viral pathogenesis, innate and

adaptive immune responses, and molecular mimicry. Dr. Vartanian’s First Rep. at 1; Respondent’s

Ex. B. (ECF No. 30-2); Dr. Whitton’s Rep. at 1–3; Respondent’s Ex. N (ECF No. 77-2).

       Petitioner filed expert reports from Dr. Vartanian on May 18, 2017, and on October 27,

2017. Dr. Vartanian’s First Rep.; Dr. Vartanian’s Second Rep. In these reports, Dr. Vartanian

questioned the trustworthiness of Petitioner’s GBS diagnosis and highlighted discrepancies

between Petitioner’s test results and what is expected for persons with demyelinating neuropathy.

Dr. Vartanian’s First Rep. at 7–10; Dr. Vartanian’s Second Rep. at 2–3. He suggested alternative

explanations for Petitioner’s illness, such as hyponatremia, and stated that one of the drugs taken

by Petitioner to treat acid reflux is known to have a negative impact on neuropathies and to

exacerbate symptoms for those with hyponatremia. Dr. Vartanian’s First Rep. at 7. Dr. Vartanian

further contended that Dr. Steinman’s molecular mimicry theory was scientifically insufficient.

Id. at 10–11. Dr. Vartanian’s second report served primarily as a response to contentions in Dr.




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Steinman’s second report, and claimed that Dr. Steinman’s theory lacked strong, independent

evidence. Dr. Vartanian’s Second Rep. at 2–3.

          Petitioner filed an expert report from Dr. Whitton on April 29, 2022. Dr. Whitton’s Rep.

Dr. Whitton’s report focused on the causation theories presented by Dr. Steinman, arguing each

theory suffered from fatal scientific flaws. Id.

   III.      Special Master’s Decision

          On January 14, 2022, Petitioner moved for a ruling on the record, asserting his causation-

in-fact burden was met. Motion for Ruling on the Record (ECF No. 72). Petitioner relied primarily

on Dr. Steinman’s causation theory as presented in his expert reports to satisfy the required

showing of a reliable, plausible theory of causation. Id. at 17 (“Dr. Steinman[] has provided a

biologically plausible medical theory that causally connects the Prevnar 13 vaccine with

Petitioner’s resulting GBS – namely molecular mimicry.”). Respondent filed its response to

Petitioner’s motion on April 29, 2022, arguing Petitioner had failed to establish a reliable medical

theory connecting the PCV-13 vaccine and Petitioner’s GBS by a preponderance of the evidence.

Response to Motion for Ruling on the Record (ECF No. 76) at 1–2.

          On February 17, 2023, the Chief Special Master denied Petitioner’s motion and entitlement

on the basis that the Petitioner “ha[d] not preponderantly established that the pneumococcal

vaccine can cause GBS, or did so to [Petitioner].” Trollinger, 2023 WL 2521912, at *1. In the

Decision, the Chief Special Master analyzed Petitioner’s claim using the three-prong causation test

for off-Table vaccine injury cases provided in Althen v. Secretary of Health & Human Services,

which requires a petitioner demonstrate “by preponderant evidence that the vaccination brought

about [his] injury.” 418 F.3d at 1278. To that end, the Althen test’s first prong requires Petitioner

“provid[e] . . . a medical theory causally connecting the vaccination and the injury.” Id. Althen



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prongs two and three require, respectively, showings of “a logical sequence of cause and effect

showing that the vaccination was the reason for the injury” and “a showing of a proximate temporal

relationship between vaccination and injury.” Id.

       In applying the Althen three-prong test, the Chief Special Master determined Petitioner’s

proffered causation theory—as evinced by Dr. Steinman—was insufficiently plausible to satisfy

Althen prong one by preponderant evidence.          Trollinger, 2023 WL 2521912, at *27–*30.

Accordingly, the Chief Special Master ruled Petitioner failed to satisfy Althen prong one because

Petitioner could not demonstrate by a preponderance of evidence that the pneumococcal vaccine

can cause GBS. Id.

       The Chief Special Master’s analysis of the seven expert reports acknowledged that the

theory of molecular mimicry is well-accepted in the Vaccine Program as “a reliable scientific

explanation for how GBS may often occur after receipt of the flu vaccine specifically.” Id. at *27

(emphasis in original). However, the Chief Special Master noted several crucial differences

between the flu vaccine and the PCV-13 vaccine that suggest the former’s acknowledged

relationship to GBS should not be taken as suggestive of the latter’s, explaining that “the flu and

pneumococcal vaccines are wholly distinguishable in composition, provoke the intended immune

response in completely different ways, and evidence relevant to flu vaccine causality is missing

for the pneumococcal vaccine.” Trollinger, 2023 WL 2521912, at *26. As additional support for

his rejection of Petitioner’s causation theory, the Chief Special Master also highlighted Dr.

Steinman’s admittedly incorrect reference to “phospholipids” in his first two expert reports,

pointed to perceived weaknesses in Dr. Steinman’s research methods and citations, and took

account of the arguments and evidence presented in both Dr. Vartanian’s and Dr. Whitton’s expert

reports. Id. at *27–*30.



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          The Chief Special Master ultimately found that the arguments advanced by Dr. Steinman

in favor of Petitioner’s causation theory “had a one-size-fits-all quality” that “strained to shoehorn

the science behind the flu-GBS association into the context of the pneumococcal vaccine,”

resulting in errors and leaps of logic that were present even in Dr. Steinman’s final expert report.

Id. at *30. Such perceived deficiencies led the Chief Special Master to hold that Petitioner did not

provide a sufficiently persuasive medical theory connecting the PCV-13 vaccine with Petitioner’s

GBS and thus did not satisfy the first Althen prong by a preponderance of the evidence. Id. at *30–

*31 (“Claimants must carry their burden of proof—here, by preponderantly establishing, via an

offering of sufficient evidence specific to the pneumococcal vaccine in question, how it could

cause GBS. This has not been accomplished in this case.”).

          As a petitioner must satisfy all three Althen prongs to demonstrate causation, the Chief

Special Master found his determination regarding Althen prong one was dispositive and

accordingly denied entitlement to Petitioner. Id.; Althen, 418 F.3d at 1274 (requiring a petitioner

satisfy all three prongs to demonstrate causation-in-fact).

    IV.      Petitioner’s Motion for Review

          On March 17, 2023, Petitioner filed the present Motion for Review (ECF No. 85), urging

this Court “to set aside the Decision and enter a ruling in favor of entitlement, or, in the alternative,

remand this matter for further consideration as to Althen prongs two and three.” Mot. at 25.

Respondent filed its Response to Motion for Review (ECF No. 87) on April 17, 2023.


                              APPLICABLE LEGAL STANDARD

          The National Childhood Vaccine Injury Act of 1986 (Vaccine Act) created the National

Vaccine Injury Compensation Program to compensate people presumed or proven to be injured by

certain vaccines. 42 U.S.C. § 300aa-10 et seq. Congress established the Vaccine Act after lawsuits

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against vaccine manufacturers and healthcare providers threatened to cause vaccine shortages and

reduce vaccination rates. See Bruesewitz v. Wyeth LLC, 562 U.S. 223, 227–28 (2011). The

Vaccine Program was designed to “lessen the number of lawsuits against manufacturers and

provide[] relative certainty and generosity of compensation awards in order to satisfy petitioners

in a fair, expeditious, and generous manner.” Cloer v. Sec’y of Health & Hum. Servs., 654 F.3d

1322, 1325–26 (Fed. Cir. 2011) (internal citations and quotation marks omitted) (alteration in

original); see also K.G. v. Sec’y of Health & Hum. Servs., 951 F.3d 1374, 1380 (Fed. Cir. 2020)

(citing Cloer, 654 F.3d at 1325) (“The Vaccine Act is a pro-claimant regime meant to allow injured

individuals a fair and fast path to compensation . . . .”).

        Petitions alleging injuries caused by a vaccine must be filed in the United States Court of

Federal Claims, where a Special Master initially reviews and issues a decision on the petition.

Bruesewitz, 562 U.S. at 228 (citing 42 U.S.C. §§ 300aa-11(a)(1), 300aa-12(d)(3)). Under the

Vaccine Act, the United States Court of Federal Claims reviews the Special Master’s decision

upon the filing of a Motion for Review of Decision of the Special Master. 42 U.S.C. § 300aa-

12(e). Upon such a review, the Court may:

        (A) uphold the findings of fact and conclusions of law of the special master and
            sustain the special master’s decision,

        (B) set aside any findings of fact or conclusion of law of the special master found
            to be arbitrary, capricious, an abuse of discretion, or otherwise not in
            accordance with law and issue its own findings of fact and conclusions of law,
            or

        (C) remand the petition to the special master for further action in accordance with
             the court's direction.

42 U.S.C. § 300aa-12(e)(2); accord United States Court of Federal Claims Vaccine Rule 27(c).

The standards set forth in 42 U.S.C. § 300aa-12(e)(2)(B), “vary in application as well as degree of

deference,” as each “standard applies to a different aspect of the judgment.” Munn v. Sec'y of

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Health & Hum. Servs., 970 F.2d 863, 870 n.10 (Fed. Cir. 1992). “Thus, the [United States Court

of Federal Claims] judge reviews the special master's decision essentially for legal error or factual

arbitrariness.” Bradley v. Sec'y of Health & Hum. Servs., 991 F.2d 1570, 1574 (Fed. Cir. 1993).

          “[S]pecial masters have broad discretion to weigh evidence and make factual

determinations.” Dougherty v. Sec’y of Health & Hum. Servs., 141 Fed. Cl. 223, 229 (2018). A

special master’s factual findings are reviewed under the arbitrary and capricious standard of

review. Althen, 418 F.3d at 1278. The scope of this review is limited and highly deferential.

Lampe v. Sec'y of Health & Hum. Servs., 219 F.3d 1357, 1360 (Fed. Cir. 2000). Factual findings

of a special master must reflect a consideration of the relevant evidence of record, not be wholly

implausible, and articulate a rational basis for the conclusion reached. See, e.g., Cedillo v. Sec’y

of Health & Hum. Servs., 617 F.3d 1328, 1338 (Fed. Cir. 2010); Hines ex. rel. Sevier v. Sec’y of

Dep’t of Health & Hum. Servs., 940 F.2d 1518, 1528 (Fed. Cir. 1991). When reviewing the special

master’s factual findings, this Court does “not reweigh the factual evidence, assess whether the

special master correctly evaluated the evidence, or examine the probative value of the evidence or

the credibility of the witnesses—these are all matters within the purview of the fact finder.” Porter

v. Sec'y of Health & Hum. Servs., 663 F.3d 1242, 1249 (Fed. Cir. 2011). Nor does this Court

“second guess the Special Master[’]s fact-intensive conclusions[,] particularly in cases in which

the medical evidence of causation is in dispute.” Cedillo, 617 F.3d at 1338 (alteration in original)

(quotations omitted) (quoting Hodges v. Sec'y of Health & Hum. Servs., 9 F.3d 958, 961 (Fed. Cir.

1993)).

          Nonetheless, a deferential standard of review “is not a rubber stamp.” Porter, 663 F.3d at

1256 (O’Malley, J., concurring in part and dissenting in part). A special master must “consider[ ]

the relevant evidence of record, draw[] plausible inferences and articulate[] a rational basis for



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[his] decision.” Hines, 940 F.2d at 1528; see 42 U.S.C. § 300aa-13(b)(1). The special master’s

findings of fact also must be “supported by substantial evidence.” Doe v. Sec’y of Health & Hum.

Servs., 601 F.3d 1349, 1355 (Fed. Cir. 2010) (citing Whitecotton by Whitecotton v. Sec’y of Health

& Hum. Servs., 81 F.3d 1099, 1105 (Fed. Cir. 1996), on remand from Shalala v. Whitecotton, 514

U.S. 268 (1995)). “[A] finder of fact generally is not required to itemize every piece of evidence

on an issue and adopt or reject it.” Shapiro v. Sec’y of Health & Hum. Servs., 101 Fed. Cl. 532,

540 (2011) (citations omitted). However, the special master cannot dismiss so much evidence that

it appears the special master “simply failed to consider genuinely the evidentiary record.”

Campbell v. Sec’y of Health & Hum. Servs., 97 Fed. Cl. 650, 668 (2011).



                                         DISCUSSION

       As an initial matter, this Court acknowledges and greatly empathizes with Petitioner and

his struggles with the serious and painful symptoms he has endured. However, after review of the

record and applicable law, this Court must deny Petitioner’s Motion as a matter of law. Petitioner

may disagree with the Chief Special Master’s conclusions and believe other special masters would

have decided the issue differently. However, the Chief Special Master’s factual findings and legal

analyses are in accordance with binding precedent and do not reflect arbitrary or capricious

reasoning such that reversal and remand by this Court is warranted.

       Under the Vaccine Act, Petitioner may demonstrate eligibility for an award in two ways.

See Munn, 970 F.2d at 865. Petitioner may either (1) show he suffered an injury listed on the

Vaccine Injury Table within the requisite time period, in which case causation is presumed (Table

injury), or, for injuries not listed on the Vaccine Table, (2) Petitioner may demonstrate his

condition was caused-in-fact by a given vaccine (off-Table injury). Capizzano v. Sec’y of Health



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& Hum. Serv., 440 F.3d 1317, 1319–20 (Fed. Cir. 2006) (citing Munn, 970 F.2d at 865; 42 U.S.C.

§§ 300aa-13(a)(1), 300aa-11(c)(1)(C)(ii)(I)). As Petitioner alleges an off-Table injury here, he

must prove by a preponderance of the evidence that his vaccine was “not only a but-for cause of

the injury but also a substantial factor in bringing about the injury.” Shyface v. Sec’y of Health &

Hum. Servs., 165 F.3d 1344, 1352 (Fed. Cir. 1999); Knudsen v. Sec'y of Dep’t of Health & Hum.

Servs., 35 F.3d 543, 549 (Fed. Cir. 1994). In showing “that the vaccination brought about [his]

injury,” Petitioner must satisfy the three Althen prongs, which require Petitioner to show by a

preponderance of the evidence:

       (1) a medical theory causally connecting the vaccination and the injury;

       (2) a logical sequence of cause and effect showing that the vaccination was the
           reason for the injury; and

       (3) a showing of a proximate temporal relationship between vaccination and injury.

Althen, 418 F.3d at 1278; see also Boatmon v. Sec’y of Health & Hum. Servs., 941 F.3d 1351,

1354–55 (Fed. Cir. 2019).

       Petitioner advances three arguments against the Chief Special Master’s decision and his

analysis related to Althen prong one: (1) the Decision “imposes a heightened burden of proof with

respect to the first Althen prong, which is contrary to established Federal Circuit law”; (2) the

Decision “fails to follow federal law in evaluating Petitioner’s expert, Dr. Lawrence Steinman,

which is legal error”; and (3) the Decision “demonstrates a predisposition against Petitioner’s

molecular mimicry theory, therefore failing to give it fair consideration, which is legal error and

. . . arbitrary and capricious.” Mot. at 8. The parties agree the relevant facts are not in dispute.

See id. at 8–9; Resp. at 7 (characterizing the relevant facts as being “not in dispute”).




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   I.      Althen Prong One

        A. The Chief Special Master Correctly Required Petitioner Satisfy the First Althen
           Prong by a Preponderance of the Evidence.
        The first Althen prong requires a petitioner to demonstrate that the vaccine at issue is

capable of causing the alleged injury. Althen, 418 F.3d at 1278; Pafford v. Sec'y of Health & Hum.

Servs., 451 F.3d 1352, 1355–56 (Fed. Cir. 2006); Greene v. Sec'y of Health & Hum. Servs., 146

Fed. Cl. 655, 663 (2020). To make this showing, “a petitioner must provide a reputable medical

or scientific explanation that pertains specifically to the petitioner’s case, although the explanation

need only be ‘legally probable, not medically or scientifically certain.’” Broekelschen v. Sec'y of

Health & Hum. Servs., 618 F.3d 1339, 1345 (Fed. Cir. 2010) (quoting Knudsen, 35 F.3d at 548–

49).

        Petitioner first argues that the Chief Special Master impermissibly raised the burden of

proof for satisfying Althen prong one by requiring Petitioner to present a medical theory that

satisfies the prong by a preponderance of the evidence. Mot. at 12–13; see Trollinger, 2023 WL

2521912, at *27 (“This case turns wholly on the first prong—for I find . . . that Petitioner has not

preponderantly demonstrated that the pneumococcal vaccine can cause GBS.”) (citation omitted).

Petitioner contends such an approach is incorrect because, in his view, a proffered medical or

scientific explanation need only illustrate it is biologically plausible that the injury was caused by

a given vaccine in order to satisfy the first Althen prong. Id. at 12–16 (“The Federal Circuit has

repeatedly held that biological plausibility (not a preponderance of the evidence) is the appropriate

standard for evaluating Althen prong one.”). Petitioner maintains the preponderance of the

evidence standard is applicable only to an analysis of the Althen prongs as a whole, “across the

entirety of [a] claim,” rather than to each prong individually. Id. at 13 (“Petitioner does not dispute

that he must demonstrate entitlement by a preponderance of the evidence. That burden, however,


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is overarching and applies across the entirety of his claim. It should not be applied to the individual

Althen prongs . . . .”) (emphasis in original).

        Petitioner is mistaken as to the applicable burden of proof for satisfying the first Althen

prong, as the Federal Circuit has definitively addressed this topic: “To demonstrate causation, the

petitioner’s ‘burden is to show by preponderant evidence’ each of the requirements set forth in

Althen . . . .” Oliver v. Sec’y of Health & Hum. Servs., 900 F.3d 1357, 1361 (Fed. Cir. 2018)

(emphasis added) (quoting Althen, 418 F.3d at 1278); Pafford, 451 F.3d at 1356. Furthermore, the

Federal Circuit has made clear that “proof of a ‘plausible’ or ‘possible’ causal link between the

vaccine and the injury . . . is not the statutory standard” required by the Vaccine Act. Moberly ex

rel. Moberly v. Sec'y of Health & Hum. Servs., 592 F.3d 1315, 1322 (Fed. Cir. 2010); Boatmon,

941 F.3d at 1360 (citing Moberly, 592 F.3d at 1322) (“We have consistently . . . reiterated that a

‘plausible’ or ‘possible’ causal theory does not satisfy the standard.”); Broekelschen, 618 F.3d at

1350 (Fed. Cir. 2010) (“[T]he remaining question is whether [petitioner] provided proof by a

preponderance of the evidence of a medical theory . . . .”); LaLonde v. Sec’y of Health & Hum.

Servs., 746 F.3d 1334, 1339 (Fed. Cir. 2014) (citing Moberly, 592 F.3d at 1322) (“[W]e have made

clear that simply identifying a ‘plausible’ theory of causation is insufficient for a petitioner to meet

her burden.”). Even apart from the Federal Circuit’s direction, logic suggests meeting the burden

overall by the standard that Plaintiff proposes would require meeting it for each of the individual

prongs. Demonstrating by preponderant evidence “a logical sequence of cause and effect” and a

“proximate temporal relationship between vaccination and injury” (Althen prongs two and three)

but applying a causation theory (Althen prong one) that is not plausible by preponderant evidence

would not meet the overall burden of proof requirements, even “across the entirety of [a] claim.”

Althen, 418 F.3d at 1278; Mot. at 13.



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       Petitioner cites several Federal Circuit opinions to support his contention that a lower,

“biologically plausible” burden of proof is required under the first Althen factor, and more

specifically that the burden may purportedly be satisfied by presentation of a medical theory of

causation that is considered biologically plausible to any extent.        Mot. at 11, 13, 14–16.

Petitioner’s reliance on these cases is misguided and the cases are inapposite. For example, in

Andreu v. Secretary of the Department of Health and Human Services, the Federal Circuit indeed

stated a petitioner had satisfied the first Althen prong by presenting a “‘biologically plausible’

theory explaining how toxins in the . . . vaccine could cause seizures,” yet the Circuit also made

clear the petitioner was required to satisfy that prong by preponderant evidence. 569 F.3d 1367,

1375 (Fed. Cir. 2009); id. at 1379 (“Althen makes clear that a claimant’s theory of causation must

be supported by a ‘reputable medical or scientific explanation.’ . . . Medical literature and

epidemiological evidence [presented in support of the theory] must be viewed . . . from the vantage

point of the Vaccine Act’s preponderant evidence standard.”). The best reading of Andreu—

consistent both internally and with Federal Circuit precedent—is thus that the first Althen prong is

satisfied by a theory demonstrated to be “biologically plausible” by preponderant evidence, not by

a lower burden of proof. See id.

       Petitioner’s citations to Kottenstette v. Secretary of Health & Human Services, 861 F.

App’x 433 (Fed. Cir. 2021), and Sharpe v. Secretary of Health & Human Services, 964 F.3d 1072

(Fed. Cir. 2020), are similarly unpersuasive. In Kottenstette, the Federal Circuit confirmed that

demonstrating causation under Althen does not require “‘identification and proof of specific

biological mechanisms’” but “‘must be supported by a sound and reliable medical or scientific

explanation.’” 861 F. App’x at 440–41 (quoting Knudsen, 35 F.3d at 549, and Simanski v. Sec’y

of Health & Hum. Servs., 671 F.3d 1368, 1384 (Fed. Cir. 2012)). In Sharpe, the Federal Circuit



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held a special master had erred in rejecting a petitioner’s medical theory “due to an absence of

medical literature,” quoting Andreu for the proposition that “[r]equiring epidemiologic studies . . .

or general acceptance in the scientific or medical communities . . . impermissibly raises a

claimant’s burden under the Vaccine Act.” 964 F.3d at 1085 (quoting Andreu, 569 F.3d at 1378).

However, the holding in Sharpe did not suggest anything less than preponderant evidence would

meet a petitioner’s causation burden. Indeed, contrary to Petitioner’s assertions, both opinions

expressly confirm preponderance of the evidence is the proper burden of proof under the Vaccine

Act. Kottenstette, 861 F. App’x at 437 (“Althen lists three prongs which petitioners must prove by

preponderant evidence.”); Sharpe, 964 F.3d at 1078 (stating that for off-Table claims, “the

petitioner must prove that the vaccine in fact caused her injuries by a preponderance of the

evidence. Notably, the preponderance of the evidence standard for off-table claims does not

require a petitioner to prove causation with scientific certainty.”).

        While Kottenstette, Andreu, and Sharpe do not provide a lower burden of proof for

satisfying Althen prong one, Petitioner correctly relies on them to state that the prong does not

require medical certainty or a specific presentation of scientific or medical literature to meet the

preponderant evidence burden. See Mot. 14–16. However, as Respondent accurately emphasizes,

such a rule does not absolve Petitioner from his burden to present a “persuasive” theory supported

by “reputable” scientific or medical evidence. Resp. at 10; Moberly, 592 F.3d at 1322 (“[A]

petitioner must provide a reputable medical or scientific explanation that pertains specifically to

the petitioner’s case . . . .” ). Thus, Althen requires a petitioner satisfy prong one by preponderant

medical or scientific evidence, but a special master cannot require presentation of medical or

scientific literature to satisfy the prong.




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       The Decision reflects that the Chief Special Master appropriately followed this approach.

The Chief Special Master did not treat the presence or absence of specific kinds of evidence—

such as medical and scientific literature—in Petitioner’s filings as dispositive. Although the

Decision highlights how certain evidence previously helped petitioners meet their burdens of proof

in other cases, the Chief Special Master did not require Petitioner to provide such evidence to

support his causation theory. See, e.g., Trollinger, 2023 WL 2521912, at *28 (“[E]ven in the

context of the flu vaccine, . . . cases have often involved successful demonstrations by petitioners

that the wild flu viral components of the vaccine contain amino acid sequences that share

sequential and structural homology to self-structures (gangliosides) that would be the putative

target of autoimmune attack.”). Indeed, the Chief Special Master’s statement that Dr. Steinman

and Petitioner’s theory “could pass the preponderant test, if supported by sufficient and reliable

medical or scientific evidence” is immediately followed by a reassurance that “[a]ny number of

kinds of evidence in combination could meet this standard.” Id. (emphasis in original). Such

statements do not represent a heightening of the appropriate burden of proof for the first Althen

prong, but rather are simple articulations of the appropriate standard for the analysis: a petitioner

must provide reliable, preponderant evidence supporting a causation theory to meet the burden of

proof but need not provide supportive scientific or medical literature specifically. See Kottenstette,

861 F. App’x at 440–41; Sharpe, 964 F.3d at 1078; Moberly, 592 F.3d at 1322; Trollinger, 2023

WL 2521912, at *28 (discussing Petitioner’s need to provide evidence that “crosses the

preponderant ‘line’”).

       As the Chief Special Master appropriately required Petitioner demonstrate the plausibility

of his causation theory by a preponderance of the evidence, and nowhere required the presentation




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of specific types of supporting evidence, Petitioner’s argument that the Chief Special Master

erroneously applied a heightened burden of proof lacks merit.

       B. The Chief Special Master Did Not Use a Credibility Determination to Apply an
          Erroneous Legal Standard.

       Petitioner’s second argument contends the Chief Special Master “cloak[ed] the application

of an erroneous legal standard in the guise of a credibility determination” concerning Petitioner’s

expert, Dr. Steinman. Mot. at 16 (quoting Andreu, 569 F.3d at 1379). However, that a special

master may “make determinations as to the reliability of the evidence presented to them and . . .

as to the credibility of the persons presenting that evidence” is not contested. Moberly, 592 F.3d

at 1326; Mot. at 18 n.5 (“Of course, Petitioner is not challenging [the Chief Special Master’s]

credibility evaluation standing alone; rather, it is the use of a credibility determination in

combination with an improper evidentiary standard that is problematic.”). Petitioner’s second

argument is thus effectively an extension of his first, contending the Chief Special Master used

credibility determinations to apply an improperly heightened burden of proof. Such an argument

fails for the same reason articulated above in Discussion Section I.A: the Chief Special Master

properly applied the preponderance of the evidence standard to Althen prong one. Petitioner does

not contend the Chief Special Master’s determinations resulted in any burden of proof higher than

a preponderant standard, and a review of the Decision does not indicate that the Special Master

deviated by applying, for example, either the clear and convincing evidence standard or the beyond

a reasonable doubt standard. See Mot. at 14 (claiming the Chief Special Master imposed “a

heightened preponderance burden on Petitioner, . . . improperly elevat[ing] the applicable

evidentiary standard.”). Indeed, the Chief Special Master’s Decision frequently references that

Petitioner must demonstrate the plausibility of the proffered medical theory by a preponderance of

the evidence and reflects that the Chief Special Master analyzed any evidence presented under that

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standard. See Trollinger, 2023 WL 2521912, at *20–*21, *25, *27–*31. Accordingly, Petitioner’s

second argument similarly lacks merit, as there was not an “erroneous legal standard” applied in

the Decision for the Chief Special Master to “cloak . . . in the guise of a credibility determination.”

Andreu, 569 F.3d at 1379; Mot. at 16.

       C. The Chief Special Master Afforded Petitioner’s Theory Fair Consideration.

       Finally, Petitioner contends the Chief Special Master committed legal error by failing to

provide Petitioner’s medical theory fair consideration due to his purported predisposition against

molecular mimicry theories. Mot. at 18–23. As evidence of the Chief Special Master’s alleged

predisposition, Petitioner cites to other cases in which special masters of this Court accepted

molecular mimicry theories—including cases specifically alleging causation between the PCV-13

vaccine and GBS—and criticizes the Decision’s comments regarding Dr. Steinman’s final expert

report. Mot. at 18–23 (“[I]n the case of Prevnar-13 and GBS, three other special masters have

considered the precise theory advanced here and all found that Althen prong one was satisfied.”).

       Petitioner’s Motion fails to allege a specific legal error brought about by the Chief Special

Master’s purported predisposition against molecular mimicry. In citing to multiple opinions

accepting molecular mimicry theories in various contexts, Petitioner suggests the mere fact that

the Chief Special Master rejected the theory is indicative of tainted reasoning. See Mot. at 22

(“Appreciating that [the Chief Special Master] may view molecular mimicry with skepticism, it is

difficult to understand how four other special masters can accept the precise theory offered by

Petitioner here . . . .”). Yet, Petitioner concedes other special masters’ opinions were not binding

on the Chief Special Master, and Petitioner advances no support for the contention that this Court

may find a special master to have erred by reaching a different conclusion than some critical mass

of their peers. Mot. at 21 (“[T]he decision of one special master is not binding on another special



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master in another case.”); see Boatman, 941 F.3d at 1358–59. Indeed, the Decision contains

express acknowledgement of other special masters’ opinions and explanations for why the Chief

Special Master declined to follow the reasoning of such opinions in this case. Trollinger, 2023

WL 2521912, at *26.

       Petitioner also highlights the Chief Special Master only cited his own cases in rejecting a

molecular mimicry theory for PCV-13 and GBS. Mot. at 20–22 (“[I]t is worth noting that the only

cases cited in the Decision that reach a contrary result are decisions written by [the Chief Special

Master].”). Again, simply stating that other special masters have found in favor of entitlement

when presented with a theory does not equate to the Chief Special Master demonstrating a

prejudice against that theory. Nor is the Chief Special Master the only special master to have ruled

against entitlement in a case with a GBS diagnosis following a PCV-13 vaccination based on a

molecular mimicry theory. See Winkler v. Sec'y of Health & Hum. Servs., No. 18-203V, 2021 WL

6276203 (Fed. Cl. Spec. Mstr. Dec. 10, 2021) (Dorsey, Fed. Cl. Spec. Mstr.), aff’d, 2022 WL

1528779 (Fed. Cl. May 13, 2022), appeal docketed, No. 22-1960 (Fed. Cir. Jun. 28, 2022).

Additionally, the Chief Special Master has previously granted entitlement under theories of

molecular mimicry in a variety of contexts, suggesting any assumed skepticism towards the theory

does not lead to unfair consideration of it. See Lozano v. Sec'y of Health & Hum. Servs., No. 15-

369V, 2017 WL 3811124 (Fed. Cl. Spec. Mstr. Aug. 4, 2017), aff’d, 143 Fed. Cl. 763 (2019), aff'd,

958 F.3d 1363 (Fed. Cir. 2020); L.C. v. Sec'y of Health & Hum. Servs., No. 17-722V, 2021 WL

3630315 (Fed. Cl. Spec. Mstr. July 2, 2021); Gerhardt v. Sec'y of Health & Hum. Servs., No. 9-

180V, 2014 WL 4712690 (Fed. Cl. Spec. Mstr. Aug. 29, 2014).

       Petitioner has thus not provided this Court with indicia of true factual or legal error, but

instead appears to be asking this Court to re-weigh the evidence already considered by the Chief



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Special Master to reach a pre-determined outcome in line with the other cited special masters.

Whether this Court would reach a different conclusion than the Chief Special Master if it

conducted a de novo review of the facts in the record is of no moment. Such a review would be

inconsistent with the appellate posture this Court adopts in vaccine cases, as this Court may not

reweigh evidence and instead is limited to determining whether a special master appropriately

engaged with the record and provided due consideration such that it cannot be said their

conclusions were arbitrary and capricious. Porter, 663 F.3d at 1249 (directing that the court does

“not reweigh the factual evidence, assess whether the special master correctly evaluated the

evidence, or examine the probative value of the evidence or the credibility of the witnesses—these

are all matters within the purview of the fact finder”); Lampe, 219 F.3d at 1363 (“[W]e do not sit

to reweigh the evidence. Since the special master's conclusion was based on evidence in the record

that was not wholly implausible, we are compelled to uphold that finding as not being arbitrary or

capricious.”); Cedillo, 617 F.3d at 1338 (same).

       Upon review of the Decision, this Court does not find the Chief Special Master’s

conclusions to be arbitrary and capricious. The Chief Special Master clearly conducted a thorough

and detailed review of the factual record before him, noting at each step the bases for his

determinations. In considering Petitioner’s causation theory—featuring molecular mimicry—as

presented by Dr. Steinman, the Chief Special Master began by acknowledging the acceptance of

molecular mimicry in the context of the flu vaccine and GBS. Trollinger, 2023 WL 2521912, at

*25–*26. He noted that while other special masters have accepted a similar association between

the PCV-13 vaccine and GBS, key differences between the vaccines—their composition, their

interactions with the immune system, and the disparate persuasiveness of the evidence in favor of

causality—counseled against following suit in this case. Id. at *26–*27.



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       Having illuminated his disagreement with the other special masters and outlined the

reasons why he views the flu vaccine-GBS association as lacking persuasive power here, the Chief

Special Master proceeded to analyze Dr. Steinman’s expert reports and presentations of

Petitioner’s causation theory. In doing so, the Chief Special Master described the kinds of

evidence that have proven persuasive in the flu vaccine-GBS context—including demonstrations

that the “wild flu viral components of the vaccine contain amino acid sequences that share

sequential and structural homology to self-structures (gangliosides) that would be the putative

target of autoimmune attack.” Id. at *28. The Chief Special Master’s analysis of Dr. Steinman’s

expert reports expresses concern over their paucity of similarly persuasive evidence; however, he

does not end his discussion there. Rather, the Chief Special Master detailed his concerns with

Petitioner’s causation theory, especially in light of the counterarguments expressed by Dr.

Vartanian and Dr. Whitton in their expert reports. Id. at *28–*29. Specifically, the Chief Special

Master noted Dr. Steinman’s erroneous reliance on “phospholipids” in his first two expert reports,

which, while corrected in later reports, “reasonably call[ed] into question what followed.” Id. at

*28. The Chief Special Master then discussed Dr. Whitton’s “numerous insightful critiques of the

specific components of the core causation theory,” such as a demonstration that “it is not likely

that antibodies generated to the phosphoglycerol-specific vaccine antigens can in turn react with

host tissue phospholipids, or that GBS is primarily or initially mediated by such a cross-reaction.”

Id. (emphasis omitted). The Decision also expressed concern regarding Dr. Steinman’s research

methods and reliance on a study that “ultimately stands mostly for the conclusion that the

pneumococcal vaccine reliably functions as intended.” Id. at *29 (emphasis omitted).

       The Decision then described with specificity perceived faults in the biological logic of the

proffered theory.    The Chief Special Master stated Petitioner had not demonstrated by



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preponderant evidence that “antibodies produced in response to the pneumococcal vaccine can

attack nerve structures and instigate GBS,” and that Dr. Whitton “convincingly explained why it

could not be assumed, and had not been shown, that an antibody produced in response to one of

the vaccine’s phosphoglycerol-containing polysaccharides would be recognized by a myelin

phospholipid structure.” Id. Also rejected for lack of credible supporting evidence were Dr.

Steinman’s arguments concerning cross-reaction between vaccine conjugate and contactin and the

“role alum would play in the process of pathogenicity,” with the Chief Special Master finding

these components of the causation theory to be “bare-bones” and presented “without hardly any

evidence” in their favor. Id.

       Finally, the Chief Special Master discussed the timing of Dr. Steinman’s expert reports,

using phrasing which Petitioner describes as “[u]nfair and [u]nwarranted.” Mot. at 22–23.

Petitioner specifically criticizes the Chief Special Master’s conclusion “that Dr. Steinman refined

his theory solely because the case’s slow course permitted him the time to do so, rather than

because compelling independent reasons existed.” Id. at 22 (emphasis in original) (quoting

Trollinger, 2023 WL 2521912, at *30). That statement, however, came at the very end of the

Chief Special Master’s thorough analysis of the causation theory and Dr. Steinman’s reports,

voicing a conclusion based on the preceding analysis rather than any animus that clouded it. See

Trollinger, 2023 WL 2521912, at *30.

        Given the breadth and depth of the Chief Special Master’s engagement with the record

before him, this Court does not find the factual conclusions in the Decision to demonstrate arbitrary

and capricious decision making. Petitioner’s position that the evidence should have been weighed

differently is not sufficient ground to sustain a motion for review, nor is a special master’s

disagreement with a proffered causation theory proof of a predisposition leading to arbitrary



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factual conclusions. That Petitioner does not point to specific evidence allegedly overlooked by

the Chief Special Master, does not identify clear errors in the analysis, and does not expressly

assert that Petitioner’s evidence meets the preponderant standard all suggest Petitioner simply

wishes for this Court to reweigh the evidence in the record already afforded consideration by the

Chief Special Master. The law requires this Court to decline such an invitation. See Porter, 663

F.3d at 1249; Cedillo, 617 F.3d at 1338. Accordingly, this Court finds the Chief Special Master

to have fairly considered Petitioner’s causation theory.

   II.      Althen Prongs Two and Three

         Petitioner urges this Court to “determine that all three Althen prongs have been satisfied

and therefore issue a decision in favor of entitlement” should this Court determine the Chief

Special Master erred in finding Petitioner to fail the first Althen prong. Mot. at 24–25. Petitioner

cites as the basis for his request Decision footnote 45, which Petitioner characterizes as conceding

Petitioner’s proffered evidence satisfies both Althen prongs two and three. Id. (citing Trollinger,

2023 WL 2521912, at *27 n.45). Alternatively, Petitioner requests this Court—should it find

Althen prong one satisfied—“remand this matter for further consideration as to Althen prongs two

and three.” Mot. at 25.

         When alleging a vaccine injury not listed in the Vaccine Table, a petitioner must

demonstrate causation by satisfying “all three Althen prongs by a preponderance of the evidence.”

Boatman, 941 F.3d at 1355; see Althen, 418 F.3d at 1278. As discussed, the Chief Special Master

did not commit legal error in his analysis related to Althen prong one and, accordingly, this Court

declines to reverse his conclusion that Petitioner failed to meet the appropriate burden. See supra

Discussion Sections I.A–C. As Petitioner cannot satisfy Althen prong one, Petitioner’s request

that this Court issue a decision of entitlement, based on a finding that Althen prongs two and three



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are satisfied, is accordingly denied. Althen 418 F.3d at 1278 (providing a petitioner must satisfy

all three prongs to show “that the vaccination brought about her injury”). This Court denies on the

same grounds Petitioner’s request for remand for further consideration as to Althen prongs two

and three.


                                        CONCLUSION

       Petitioner’s Motion for Review (ECF No. 85) is DENIED. The Chief Special Master’s

Decision (ECF No. 81) is SUSTAINED. The Clerk of Court is DIRECTED to enter Judgment

accordingly.

       The parties are directed to CONFER and FILE a Notice within 14 days, attaching a

proposed public version of this Memorandum and Order, with any protect information redacted.

       IT IS SO ORDERED.


                                                                Eleni M. Roumel
                                                                ELENI M. ROUMEL
                                                                      Judge




July 31, 2023
Washington, D.C.




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